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 NORTH CAROLINA                                     r ill\:I1 -THE
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                                                                       GENERAL COURT OF JUSTICE
                                                nil sri_.2 ILI SefiRlp-j. COURT DIVISION
 NEW HANOVER COUNTY                                                21 CVS

 WILMINGTON CONVENTION HOTEL1,15' HAN°VER co.' C'S -C'


                    Plaintiffs,
                                                                      COMPLAINT
                                                                  (Jury Trial Demanded)
 V.
                                                                           A TRUE COPY
 NAVIGATORS SPECIALTY INSURANCE                                       CLERK OF SUPERIOR COURT
 COMPANY,                                                               NEW HANOVER COUNTY
                                                                         BY: 9(yok'9 fagirvara
                                                                       Deputy Clerk of Superior Court
                    Defendant.

       Plaintiff Wilmington Convention Hotel, LLC, complains and alleges as follows:

                                                PARTIES

           1.      WCH is a limited liability company duly organized and existing under the laws of

 the State of Virginia that does business throughout North Carolina, including in New Hanover

 County.

       2.          Defendant Navigators Specialty Insurance Company ("Navigators") has its

principal place of business in New 'York.

           3.      This Court has personal jurisdiction over Defendant pursuant to N.C. Gen. Stat. §

 1-75.4.

           4.      This Court is the proper venue for this action pursuant to N.C. Gen. Stat. § 1-80.

                                                 FACTS

       5.          WCH owns and operates the Embassy Suites located at 9 Estell Lee Place,

Wilmington, North Carolina (the "Hotel"). Construction of the Hotel was completed in or around

March 2018.


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         6.      Navigators issued a commercial property insurance policy to WCH insuring the

Hotel (No. NY17HABOBH66XNC) (the "Policy"). The effective date of the Policy was December

29, 2017 to December 29, 2018. The Policy includes, inter alia, coverage for the repair and

replacement of real and personal property damage and for lost business income.

         7.      Hurricane Florence made landfall near Wilmington on September 14, 2018,

dumping more than 26 inches of rain on the area over several days. The Hotel experienced

massive amounts of water intrusion, damaging its ballroom, meeting spaces, guest rooms, and

other common areas. There was also significant wind damage to the roof, rooftop HVAC units,

and rooftop bar area. WCH lost business income while the damages to the Hotel were being

repaired.

         8.      A significant portion of the water damage that occurred during Hurricane Florence

was the result of damage to the roof when HVAC units, other fixtures, and rooftop railings were

blown off', creating openings in the roof membrane and allowing water to pour directly into the

Hotel.

         9.      After Hurricane Florence passed, WCH promptly notified Navigators of its claim

(claim number HAB308834) for coverage under the Policy.

         10.     Navigators, through its personnel and agents„ behaved as if it would fully cover the

claim. WCH relied on Navigators' guidance on how to remediate the damage. Rather than simply

remove and replace water soaked carpets and drywall, Navigators insisted that WCH hire a

restoration company to perform drying operations, which not only ultimately was more

expensive, but also which required the Hotel to partially shut down for an extended period of

time.




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        11.    The restoration company charged over $1.2 Million for its services. WCH also

 incurred cost for storm related repairs, furniture, fixture and equipment replacements and lost

 additional business income due to the need to partially shut down.

        12.    On October 15, 2018, WCH provided Navigators with various repair estimates and

 opinions from roofing and plumbing contractors and an architect in support of its claim for

 coverage under the Policy.

       13.     WCH also retained a professional engineering firm at its own expense. The

engineers retained by WCH confirmed that water intrusion occurred along the northern elevation

Of the building—below the roof that sustained'obvious wind damage, allowing water to enter the

building and damage the interior spaces below it.

        14.    These and other statements and reports were obtained by WCH and provided to

Navigators throughout the time Navigators was adjusting the loss. WCH's submissions

established that water damages at the Hotel were not caused solely by wind-driven rain or

discharge from sewer, drain or sump. WCH's expert contractors and engineers demonstrated to

Navigators that WCH's significant property and business income losses were also caused by other

covered perils, namely windstorm/hail.

                          Navigators' Wrongfully Deities Coverage

        15.   In a letter dated October 21, 2019—more than one year after WCH's claim was

made—Navigators provided its analysis of WCH's coverage under the Policy and stated it was

reserving all rights under the Policy (the "ROR Letter"). A true and correct copy of the ROR

Letter is attached hereto as Exhibit A.

        16.   Navigators concluded—despite overwhelming and competent evidence to the

contrary—that all of WCH's losses and damages were caused by either (a) wind-driven rain




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entering through window openings or (b) discharge from a sewer, drain, or sump causing water

damage to the interior from the roof. The ROR Letter failed to identify specific factual support

and Policy language to support its coverage position.

        17.    While the Policy's limit of liability was $10,000,000 per occurrence, the Policy

sublimits coverage for direct physical damages to only $250,000 for wind-driven rain and

$100,000 for discharge from a sewer, drain, or sump.

        18.   Navigators acknowledged that it owed for direct damages caused by discharge from

a sewer, drain, or sump. Regardless, Navigators wrongfully refused to pay the $100,000 sublimit

under that coverage, stating in an October 21, 2019 letter that "[Necause the Deductible Buy Back

Carrier has paid the full $100,000 recoverable for Discharge from Sewer, Drain, or Sump, no

further recover is available for that loss." Navigators failed to cite to any provisions of the Policy

or provide any other reasonable explanation for its refusal to pay coverage it acknowledged was

due.

        19.   There are no provisions in the Policy that allow Navigators, as the primary insurer

for the losses sustained by WCH, to offset its contractual coverage obligations with a separate

deductible buy-back policy obtained by WCH for the sole benefit of WCH.

       20.    The Policy also contains a scrivener's error in that it fails to show a limit of liability

for Business Interruption in the Schedule to the Discharge from Sewer, Drain or Sump

endorsement. Upon information and belief, WCH paid for this coverage as part of its premium.

       21.    Navigators also took the position that the $250,000 policy limit on wind driven rain

coverage is a limit for all direct and indirect losses, meaning it applies to WCH's business

interruption coverage. This interpretation was based on a strained reading of the Policy and

contrary to the plain language and the parties' intentions. At best for Navigators, the terms



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 regarding business income coverage for losses caused by wind-driven rain are ambiguous and

 should be construed to provide coverage for WCH's losses.

         22.     Other coverages for WCH's commercial property and.business income are owed

 under the Policy, including coverage for windstorm/hail that resulted after areas of the roof were

 damaged by wind. The windstorm/hail coverage, for example, is not subject to the various

 sublimits that Navigators relied on in bad faith to severely underpay and deny all covered losses

 owed under the Policy.

                                    FIRST CAUSE OF ACTION
                                       (Breach of Contract)

         23.     The allegations contained in Paragraphs 1-22 are incorporated by reference as if

 fully set forth herein.

         24.     The Policy is a valid and enforceable contract.

         25.     At all times, WCH has complied with all terms and conditions for coverage under

the Policy.

         26.     Navigators has refused to pay all sums owed under terms and conditions of the

 Policy for WCH's property damage and business income losses.

        27.      The actions of Navigators, including its refusal to pay the coverage due to WCH,

constitute a breach of contract.

        28.      As a result of the breach of contract by Navigators, WCH is entitled to

compensatory damages in excess of $25,000, plus interest and attorneys' fees as allowed by law.

                                   SECOND CAUSE OF ACTION
                                          (Estoppel)

         29.     The allegations contained in Paragraphs 1-28 are incorporated by reference as if

fully set forth herein.



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           30.    Navigators, through its agents, behaved as if it would fully cover the WCH's claim.

 For example, Navigators insisted that WCH hire a restoration company to perform drying

 operations despite the fact that there was a simpler alternative: removing and replacing water

 soaked carpets and drywall.

           31.    WCH relied on Navigators' guidance on how to remediate the damage, believing

 that Navigators would cover its claim.

           32.    The drying operations, insisted upon by Navigators, required WCH to incur costs

 that exceeded what the cost of replacement of damaged materials would have been, as well as to

 partially shut down the Hotel for an extended period of time costing WCH revenue.

           33.    Through their actions, Navigators represented to WCH that it would cover WCH's

 claim.

           34.    WCH reasonably relied on that representation.

           35.    WCH reliance on Navigator's representation was to its detriment.

           36.    For these reasons, based on Navigator's conduct, Navigators should be equitably

 estopped from denying coverage.

          WHEREFORE, WCH respectfully prays the Court:

          1.      Award WCH actual damages against Navigators in an amount to be proven at trial

but reasonably believed to be in excess of $25,000, plus interest at the legal rate until paid in full;

          2.      Tax the costs of this action, including attorneys' fees, against Navigators as allowed

by law;

          3.      Grant a jury trial on all issues so triable; and




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4.      Grant such other and further relief as the Court deems just and proper.
           iA
This the 13 day of September, 2021.



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                 EXHIBIT A
           (October 21, 2019 Letter)




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Atvigators
October 21 ,2019

Wilmington Convention Hotel, LLC
9 Este11 Lee Place
Wilmington, NC 28401


Re:    Insured:               Wilmington Convention Hotel, LLC
Loss:                   Water Damage, Hurricane Florence
Location:               Embassy Suites Hotel, 9 Este11 Lee Place, Wilmington, NC
Policy No.:             NY17HABOBH66XNC
Date of Loss:           September 14, 2018
Claim No.:              HAB308834

Dear Sirs:

        I am writing on behalf of Navigators Specialty Insurance Company ("Navigators")
to give you Navigators' current analysis of the above water-damage claim.

       This claim arises from Hurricane Florence. During the storm, the subject Embassy
Suites Hotel experienced water infiltration in the guest rooms, primarily around the window
openings, and also experienced water infiltration in the interior areas below its flat roof.

        Navigators, with the assistance of the independent outside adjuster, building
consultant, and engineering consultant, has concluded that the infiltration of water through
the window openings represents Wind-Driven Rain, and the infiltration of water below the
roof represents Discharge From Sewer, Drain, or Pump, not associated with a flood.

       Navigators has adjusted the property-damage loss associated with this occurrence,
subject to applicable sublimits and deductible. We understand that the hurricane deductible
applicable has been paid by the deductible buy-back carrier.

        Navigators has applied two relevant sublimits to this loss: Discharge From Sewer,
Drain, or Sump and Wind-Driven Rain. These two sublimits are found in endorsements to
the Policy.

       The first sublimit is found in the Discharge From Sewer, Drain, or Sump (Not
Flood-Related) Endorsement. That Endorsement contains the following Schedule:

Premises           Building             Discharge          ' Discharge            Annual
Number             Number               Limit                Limit (Business      Aggregate
                                        (Property            Interruption)        Limitation
                                        Damage)                                   Applies
ALL                ALL                  $100,000                                  o

                               Navigators Management Company, Inc.

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       The Endorsement provides that Business Interruption recovery is available for a
Discharge loss only "If a Discharge Limit for Business Interruption is entered in the above
Schedule. There is no Discharge Limit entered for Business Interruption. Therefore, no
Business Interruption recovery is available for Discharge losses, and Property Damage
recovery is sublimited to $100,000.

       Because the Deductible Buy Back Carrier has paid,the full $100,000 recoverable for
Discharge From Sewer, Drain, or Sump, no further recovery is available for that loss.

        The second sublimit is part of the Policy's Wind Driven Rain Endorsement.

        That Endorsement applies to "the direct loss due to the action of rain, snow, sand, or
dust which enters the building by passing through or passing around building components."
It contains this sublimit:

Sublimit of Liability: $250,000 Per Occurrence

      The entire $250,000 sublimit for Wind Driven Rain coverage under this
Endorsement has been paid. Therefore, no further recovery is available for that loss.

       Our understanding is that Wilmington Convention has urged that the Wind Driven
Rain sublimit should apply only to Property Damage, and not to Business Interruption. This
view, however, is not in keeping with either the Endorsement or with the Policy in general.

   . We point out that coverage for loss from wind-driven rain (except wind-driven rain
that enters the building through areas damaged by that wind) does not exist under the Policy
except as a result of the Wind Driven Rain Endorsement. Except for that Wind Driven Rain
Endorsement, no coverage at all would exist for this part of the claim.

        Specifically, the Policy excludes coverage for loss from wind-driven rain (except
wind-driven rain that enters the building through areas damaged by that wind) in its "Causes
of Loss — Windstorm or Hail" Endorsement. That Endorsement states that no coverage
exists for:

Direct Physical Loss or damage to the interior of any covered building or structure, or the
property inside the building or structure, caused by rain, snow, sand or dust, whether driven
by wind or not, unless the building or structure first sustains wind or hail damage to its roof
or walls through which the rain, snow, sand or dust enters.

        This exclusion would also negate any Business Interruption coverage for time-
element loss arising from wind-driven rain (except wind-driven rain that enters the building
through areas damaged by that wind). This is because Business Interruption recovery, under
Section A(5)(c)(2) of the Business Income (And Extra Expense) Coverage Form, is
available only if the time-element loss is caused by a Covered Cause of Loss. Specifically
as to Loss of Rental Value,

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Loss of "Rental ValUe" must be caused by direct physical loss or damage at the described
premises caused by or resulting from any Covered Cause of Loss.

         The "Causes of Loss — Windstorm and Hail" Endorsement excludes wind-driven
rain (except wind-driven rain that enters the building through areas damaged by that wind)
as a Covered Cause of Loss. Therefore, Business Interruption coverage, which exists only
if the time-element loss is caused by a Covered Cause of Loss, would not exist for wind-
driven rain, were it not for the separate Wind Driven Rain Endorsement.

       In short, the only coverage for time-element loss caused by wind-driven rain (except
wind-driven rain that enters the building through areas damaged by that wind), is created by
the Wind Driven Rain Endorsement.

        The Wind Driven Rain Endorsement, in turn, creates coverage for all "direct loss"
due to the action of wind-driven rain. This coverage is not limited to "physical loss"; so, the
coverage applies to all losses, both physical and time-element. Indeed, if the Endorsement
had created coverage only for "physical loss," then there would be no Business Income
coverage at all.

        Rather than creating coverage only for physical loss, the Endorsement encompasses
all "direct loss." "Loss" is a term that includes both physical damage losses and time-
element losses. The Endorsement, therefore, expressly applies to both types of loss.

        The Endorsement then imposes a $250,000 sublimit on these losses, "per
Occurrence." "Occurrence" is a broad term, meaning all losses arising out of the same
cause. It is defined in the Occurrence Limit of Liability Endorsement as follows:

The term "occurrence" shall mean any one loss, disaster, casualty or series of losses,
disasters or casualties, arising out of one cause."

        An "occurrence," then, is the entirety of all losses that result from one cause. Wind-
Driven Rain is defined under the Policy as a separate "Cause of Loss." The $250,000 Per
Occurrence sublimit, therefore, applies to all losses arising out of the Wind-Driven Rain,
since all such losses constitute a single "Occurrence."

        In summary, Navigators has correctly applied the $250,000 per-Occurrence Wind
Driven Rain sublimit to all losses arising from the wind-driven rain. The Wind Driven Rain
Endorsement is the only source of coverage for both property damage and time-element
losses resulting from wind-driven rain in this context. Indeed, if the Endorsement (and its
sublimit) did not apply to Business Interruption loss, then there would be no coverage
whatsoever for such loss. Rather, the Endorsement does create such coverage, subject to the
per-Occurrence sublimit. That sublimit applies to all direct "losses," a term that refers to
both property damage and time-element losses, It further applies to the entire "Occurrence,"
which means all losses arising out of the relevant cause of loss, wind-driven rain.


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         This letter is not, and should not be construed as, a waiver of any terms, conditions,
exclusions or other provisions of the Policy, or any other policies of insurance issued by
Navigators. Navigators expressly reserves all of its rights under the Policy, including the
right to amend and/or add to this letter, and Navigators' efforts in conducting its
investigation should not be considered a waiver or variance of any of the Policy's terms of
conditions. All rights are reserved.

        Finally, please be advised that no representative of Sedgwick, or any other
consultant retained by or on behalf of Navigators, has any authority to waive or alter the
terms, conditions, or limitations of the Policy. All such rights and coverage decisions are
reserved for Navigators exclusively, and the only authorized communications are those
conveyed in a writing signed by Navigators or one that expressly states that it is being sent
on Navigators' behalf.

        If you have any questions or wish to discuss this further, please do not hesitate to
contact us.


Very truly yours,

afoot
John Wanjuki, Senior claims Specialist
1(732) 623 5661


cc: Mr. Peter Cumin
    All Risks, LTD
    3567 Parkway Lane
    Peachtree Corners, GA 30092




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